     Case 4:20-cr-00269-Y Document 28 Filed 07/22/21          Page 1 of 6 PageID 230



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                    NO. 4:20-CR-269-Y
ERIC PRESCOTT KAY


                  RESPONSE TO DEFENDANT’S MOTION TO
             CONTINUE TRIAL AND EXTEND PRETRIAL DEADLINES

        The United States of America, by and through the undersigned Assistant United

States Attorney, files this response to the defendant’s Motion to Continue Trial and

Extend Pretrial Deadlines. (Dkt. 27.) For the reasons cited below, the government

submits that the defendant’s motion should be denied.

                                  PROCEDURAL HISTORY

        1.      A sealed complaint and arrest warrant were issued against Defendant Eric

Kay in this matter on July 30, 2020, and the defendant made his initial appearance on

August 7, 2020.

        2.      The parties filed joint motions to extend the time to indict, and on October

15, 2020, an indictment was returned against defendant Eric Kay. (Dkt. 12.) The

indictment charges Kay with one count of conspiracy to distribute a controlled substance

and one count of possession with intent to distribute and distribution of a controlled

substance, resulting in death. (Dkt. 12.)

        3.     On October 27, 2020, Kay filed a waiver of arraignment and entered a plea

of “not guilty” to each count charged. (Dkt. 15.) The Court originally set this matter for


Response to Defendant’s Motion to Continue – Page 1
   Case 4:20-cr-00269-Y Document 28 Filed 07/22/21                        Page 2 of 6 PageID 231



trial on December 14, 2020 (Dkt. 16), but on November 5, 2020, the parties filed a joint

motion to continue the trial date and all accompanying pretrial deadlines (Dkt. 17), which

the Court granted (Dkt. 18). Trial was then set in this matter for April 19, 2021.

        4.        On November 19, 2020, the government provided a proposed protective

order to counsel for the defendant, so that discovery could be provided pursuant to a

protective order and requested hard drives for discovery.

       5.         On December 22, 2020, the government followed up with counsel for the

defendant about the proposed protective order and requested hard drives for discovery.

       6.         On January 4, 2021, the government followed up with counsel for the

defendant about the proposed protective order and requested hard drives for discovery.

        7.        On January 14, 2021, the government followed up with counsel for the

defendant, who then notified the government that it would agree to the protective order,

and the government filed its unopposed motion for protective order. (Dkt. 19.)

        8.        On January 28, 2021, the Court granted the government’s unopposed motion

for a protective order. (Dkt. 21.)

        9.        On February 2, 2021, the government provided an external hard drive

containing discovery to counsel for the defendant. 1

        10.       On February 12, 2021, the government provided another round of discovery

to counsel for defendant, which includes the bulk of the discovery in this case. And at




        1
            This is the hard drive referenced in paragraph 3(a) of defendant’s motion to continue.



Response to Defendant’s Motion to Continue – Page 2
   Case 4:20-cr-00269-Y Document 28 Filed 07/22/21                      Page 3 of 6 PageID 232



that time the Do Not Release (DNR) material was made available at the United States

Attorney’s Office for defense counsel to review.

        11.     On March 25, 2021, the government provided discovery received from

federal law enforcement in California. 2

        12.     On March 26, 2021, the defendant filed an unopposed motion to continue

the trial and to extend pretrial deadlines. (Dkt. 22).

        13.     On April 6, 2021, the Court granted the motion and scheduled trial for

August 16, 2021. (Dkt. 23).

        14.     On May 26, 2021, the government provided a small amount discovery,

consisting primarily of reports from California and supplemental discovery and photos

received from the Tarrant County Medical Examiner’s Office (TCME).

        15.     On July 12 and 13, 2021, counsel for the defendant reviewed the DNR

material (which was available beginning in February 2021) at the United States

Attorney’s Office. 3 Local counsel for the defendant was able to review the DNR

material and take notes on that material in less than two total business days. 4

        16.     On July 21, 2021, the government provided additional discovery, including

discovery obtained from law enforcement in California, a 911 audio recording,

supplemental notes from TCME, targeted iCloud records (the results for the entire iCloud


        2
          At that time a small number of reports from the California production were added to the DNR
materials available for review at the United States Attorney’s Office.
        After making the DNR material available to counsel for the defendant in February 2021, the
        3

government repeatedly urged counsel for the defendant to review the DNR material.
        4
           On July 12, 2021, local counsel for the defendant did have an additional member of his staff
assisting in reviewing the DNR material.



Response to Defendant’s Motion to Continue – Page 3
   Case 4:20-cr-00269-Y Document 28 Filed 07/22/21                         Page 4 of 6 PageID 233



were originally provided to the defendant in February 2021), and a download of a phone

for which the government had recently obtained a search warrant. The government also

pulled out items that it believed to be relevant to this case from the phone and provided

them to counsel for the defendant in a separate report. The government also notified

counsel for the defendant that it believed the remainder of the phone largely consisted of

photos unrelated to this case. 5

        17.       On July 21, 2021, the defendant filed the instant opposed motion to

continue the trial and extend the pretrial deadlines. (Dkt. 27.)

        18.       The defendant also argues as part of his motion to continue that counsel is

investigating issues related to a person affiliated with TCME that is intimately involved

in the TCME actions in this case. 6 (Dkt. 27 at ¶11).

        19.       Pursuant to 18 U.S.C. § 3161(h)(7)(B), the relevant “factors, among others,

which a judge shall consider in determining whether to grant a continuance under

subparagraph (A) of this paragraph” include the following:

                  (i) Whether the failure to grant such a continuance in the
                  proceeding would be likely to make a continuation of such
                  proceeding impossible, or result in a miscarriage of justice.

                  (ii) Whether the case is so unusual or so complex, due to the
                  number of defendants, the nature of the prosecution, or the
        5
            This is the discovery material referred to in paragraph 3(e) of defendant’s motion to continue.
        6
          Counsel for the defendant also raises in his motion whether Brady disclosures have been made
by the government with respect to this issue. On July 22, 2021, the government relayed to local counsel
for the defendant that it was in contact with the Tarrant County District Attorney’s Office in attempts to
obtain a copy of any review or audit conducted by TCME. Local counsel for the defendant acknowledged
that he had been able to review a preliminary and unofficial copy of a report related to this matter
prepared by the TCME. Additionally, the government received a final copy of the report on July 22,
2021, at approximately 10:00 a.m., and a copy of that report is being provided to counsel for the
defendant.



Response to Defendant’s Motion to Continue – Page 4
   Case 4:20-cr-00269-Y Document 28 Filed 07/22/21              Page 5 of 6 PageID 234



                existence of novel questions of fact or law, that it is
                unreasonable to expect adequate preparation for pretrial
                proceedings or for the trial itself within the time limits
                established by this section.

                (iii) [inapplicable].

                (iv) Whether the failure to grant such a continuance in a case
                which, taken as a whole, is not so unusual or so complex as to
                fall within clause (ii), would deny the defendant reasonable
                time to obtain counsel, would unreasonably deny the
                defendant or the Government continuity of counsel, or would
                deny counsel for the defendant or the attorney for the
                Government the reasonable time necessary for effective
                preparation, taking into account the exercise of due diligence.

       20.      A continuance in this case is obviously within the Court’s discretion after

considering the facts of the case, the above identified factors, and any other factor the Court

considers relevant.

       21.      The government opposes the defendant’s motion in light of the nature of the

case (including facts, charges, etc.), the amount of time the case has been set for trial, and

victim considerations. Further, as set out above, the government has been diligent in

providing discovery to counsel for the defendant and in continuing to fulfill its obligations

under Rule 16. While the government understands that some scheduling issues may have

delayed review of the discovery, it does not mean that the government did not timely

provide the discovery.

       22.     In light of the fact that it appears the defendant merely needs additional

time to review discovery, the bulk of which has been in its possession or available for

review since February 2021, the government believes this is not a basis for a continuance,




Response to Defendant’s Motion to Continue – Page 5
    Case 4:20-cr-00269-Y Document 28 Filed 07/22/21                       Page 6 of 6 PageID 235



especially in light of the amount of time that has passed since indictment of this matter

and the victim considerations in this matter.

        23.     If, however, the Court determines based upon the facts of this case, and the

various factors it is required to consider, that a continuance in this case is necessary

because a failure to grant such might result in a miscarriage of justice, the government

requests that the trial for this matter be set to begin on October 4, 2021 or October 12,

2021. 7 Further, the government asks that the trial not be scheduled during the time

periods referenced in Defendant’s Motion to Continue.

        For the foregoing reasons, the government respectfully requests that the Court

deny the defendant’s motion to continue and order that the trial commence on August 16,

2021, as previously scheduled.


                                                           Respectfully submitted,

                                                           PRERAK SHAH
                                                           Acting United States Attorney

                                                           s/ Lindsey Beran
                                                           LINDSEY BERAN
                                                           Assistant United States Attorney
                                                           Texas State Bar No. 24051767
                                                           ERRIN MARTIN
                                                           Assistant United States Attorney
                                                           Texas State Bar No. 24032572
                                                           1100 Commerce Street, Third Floor
                                                           Dallas, Texas 75242-1699
                                                           Telephone: 214.659.8600


        7
           If the Court is unable to set the case for trial in October 2021, the government would request
that it be set for trial before January 31, 2022, due to scheduling issues for a large number of potential
witnesses who will have significant scheduling conflicts beginning in February 2022.



Response to Defendant’s Motion to Continue – Page 6
